
62 So.3d 1235 (2011)
Freddie CLEMMONS, Appellant,
v.
STATE of Florida, Appellee.
No. 2D11-452.
District Court of Appeal of Florida, Second District.
June 10, 2011.
PER CURIAM.
Freddie Clemmons appeals an order dismissing in part and denying in part his motion for postconviction relief filed pursuant to Florida Rule of Criminal Procedure 3.850. Because the court granted Clemmons leave to amend one claim and has not yet issued a final ruling on that claim, the order at issue is a nonfinal, nonappealable order. See Gosney v. State, 55 So.3d 728, 729 (Fla. 2d DCA 2011). Accordingly, we dismiss this appeal.
Dismissed.
ALTENBERND, DAVIS, and SILBERMAN, JJ., Concur.
